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                            SO ORDERED: October 8, 2013.




                            ______________________________
                            Basil H. Lorch III
                            United States Bankruptcy Judge




                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

 In re:                                                 )   Chapter 11
                                                        )
 EASTERN LIVESTOCK CO., LLC,                            )   Case No. 10-93904-BHL-11
                                                        )
                        Debtor.                         )

                         ORDER GRANTING
  AGREED MOTION FOR AUTHORITY TO APPROVE STIPULATION RESOLVING
   CLAIMS OF RUSSELL DECORDOVA D/B/A DECORDOVA CATTLE COMPANY

          This matter is before the Court on the Agreed Motion For Authority To Approve

 Stipulation Resolving Claims Of Russell deCordova d/b/a deCordova Cattle Company

 ("Motion") (Docket No. 2375) filed by James A. Knauer, as Chapter 11 Trustee for Eastern

 Livestock Co., LLC (the "Trustee") and Russell deCordova d/b/a deCordova Cattle Company

 ("deCordova" and together with the Trustee, the "Parties"). The Motion seeks approval of the

 Stipulation Resolving Claims Of Russell deCordova d/b/a deCordova Cattle Company (the

 "Stipulation") attached as Exhibit A to the Motion. The Court, having reviewed the Motion and

 the Stipulation, and being otherwise duly advised, now GRANTS the motion and APPROVES
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 the Stipulation, it appearing to the Court that the request has been made for good cause.

 Accordingly,

        IT IS HEREBY ORDERED that the Motion is granted and the Stipulation is approved.

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